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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division



                                               )
 SHRADDHA PATEL,                               )
                                               )
                Plaintiff,                     )
 v.                                            ) Civil Action No.: 1:15-CV-00598-TSE-TCB
                                               )
 KIRIT PATEL, et al.,                          )
                                               )
                Defendants.                    )
                                               )




                                     DEFAULT JUDGMENT


        Pursuant to the Order issued on August 18, 2017, DEFAULT JUDGMENT is hereby

 entered in favor of plaintiff SHRADDHA PATEL, and against defendants KIRIT PATEL and

 KRUPA PATEL in the total amount of $4,000.00 with respect to plaintiff’s claims for false

 imprisonment, battery, assault, intentional infliction of emotional distress, and conspiracy.

 Additionally, DEFAULT JUDGMENT is entered in favor plaintiff SHRADDHA PATEL, and

 against only defendant KIRIT PATEL in the amount of $1,500.00 for the Virginia Computer

 Crimes Act claim.


 Alexandria, Virginia
 August 21, 2017
                                                       FERNANDO GALINDO
                                                       Clerk
                                                        /s/ M. Pham
                                                       Courtroom Deputy
